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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                     TEXARKANA DIVISION

   HEALTH CHOICE ALLIANCE, LLC,                 §
   on behalf of the UNITED STATES OF            §
   AMERICA, et al.                              §
                                                §
        Plaintiff/Relator,                      §
                                                §
   v.                                           §       Case No. 5:17-CV-123-RWS-CMC
                                                §
   ELI LILLY AND COMPANY, INC.,                 §
   et al.,                                      §
                                                §
        Defendants.                             §


   HEALTH CHOICE GROUP, LLC,                    §
   on behalf of the UNITED STATES OF            §
   AMERICA, et al.                              §
                                                §
        Plaintiff/Relator,                      §
                                                §
   v.                                           §       Case No. 5:17-CV-126-RWS-CMC
                                                §
   BAYER CORPORATION, et al.                    §
                                                §
        Defendants.                             §


                              REPORT AND RECOMMENDATION
                         OF THE UNITED STATES MAGISTRATE JUDGE


           The above-referenced qui tam False Claims Act (“FCA”) cases were referred to the

   undersigned United States Magistrate Judge for pretrial purposes in accordance with 28 U.S.C. §

   636. The FCA includes a provision allowing the government to dismiss an action if the relators have

   been notified and have had an opportunity for a hearing on the motion. 31 U.S.C. § 3730(c)(2)(A).
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   Seeking dismissal of both actions pursuant to this provision, the United States of America (the

   “government” or “United States”) has filed the following motions:

          The United States’ Motion to Dismiss Relator’s Second Amended Complaint
          (Cause No. 5:17-cv-123, Docket Entry # 192); and

          The United States’ Motion to Dismiss Relator’s Second Amended Complaint
          (Cause No. 5:17-cv-126, Docket Entry # 116).

   Relators oppose dismissal on several grounds. As required by the statute, the Court held a hearing

   on the motions on April 24, 2019. Based on the representations made in the briefs and at the

   hearing, the Court recommends the motions to dismiss be GRANTED.

                                           I. BACKGROUND

          In June of 2017, three separate affiliates of the National Healthcare Analysis Group (“NHCA

   Group”), an alleged research organization based in New Jersey, filed three related qui tam actions

   in this Court: (1) U.S. ex rel. Health Choice Alliance, LLC v. Gilead Sciences, Inc., et al. (Cause No.

   5:17-cv-121) (“Gilead case”);1 (2) U.S. ex rel. Health Choice Alliance, LLC v. Eli Lilly & Co., et al.

   (Cause No. 5:17-cv-123) (“Lilly case”); and (3) U.S. ex rel. Health Choice Group, LLC, et al. v.

   Bayer Corporation, Inc., et al. (Cause No. 5:17-cv-126) (“Bayer case”). NHCA Group, acting

   through various limited liable companies, filed twelve qui tam actions nationwide making




          1
            Relator Health Choice Alliance, LLC voluntarily dismissed the Gilead action on July 23,
   2018. The government consented to the dismissal “based on its determination that under the
   circumstances such a dismissal [was] commensurate with the public interest and that the matter d[id]
   not warrant the continued expenditure of government resources to pursue or monitor the action based
   on currently available information.” Cause No. 5:17-cv-121, Docket Entry # 246.

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   substantially the same allegations asserted in the cases before the Court.2 See Declaration of John

   R. Mininno (“Minnino Decl.”), attached to Relators’ Response to Mots. to Dismiss, ¶ 10.

          In the Lilly and Bayer qui tam actions brought under the FCA and various state laws, relators

   Health Choice Alliance LLC and Health Care Group, LLC (together, “Relators”) originally brought

   claims against the following defendants: (1) Eli Lilly and Company, Inc. (“Lilliy”), VMS

   BioMarketing (“VMS”), Covance, Inc. (“Covance”), United BioSource Corporation (“UBC”), and

   HealthSTAR Clinical Education Solutions LLC (“Healthstar”) (Lilly Defendants); and (2) Bayer

   Corporation, Amgen, Inc., Onyx Pharmaceuticals, Inc., AmerisourceBergen Corporation, and Lash

   Group (Bayer Defendants). The general background and facts of these cases are set forth in detail

   in the Court’s opinions on the defendants’ motions to dismiss the First Amended Complaints

   (“FACs”) in the Lilly and Bayer cases and will not be repeated here except as necessary to

   understand the discussion regarding the government’s motions to dismiss.




          2
             These cases are: U.S. ex rel. SAPF, LLC, et al. v. Amgen, Inc., et al., No. 16-cv-5203 (E.D.
   Pa.); U.S. ex. rel. v. EMD Serono, Inc., et al., No. 16-cv-5594 (E.D. Pa.); U.S. ex rel. NHCA-TEV,
   LLC v. Teva Pharm., et al., No. 17-cv-2040 (E.D. Pa.); U.S. ex rel. SMSF, LLC, et al. v. Biogen Inc.,
   et al., No. 1:16-cv-11379 (D. Mass.); U.S. ex rel. SCEF, LLC v. Astra Zeneca PLC, et al., No. 17-cv-
   1328 (W.D. Wash.); U.S. ex rel. Miller, et al. v. AbbVie, Inc., No. 3:16-cv-2111 (N.D. Tex.); U.S.
   ex rel. Carle, et al. v. Otsuka Holdings Co., et al., No. 17-cv-966 (N.D. Ill.); U.S. ex rel. CIMZNHCA
   v. UCB, Inc., et al., No. 3:17-cv-00765 (S.D. Ill.); U.S. ex rel. Health Choice Group, LLC. v. Bayer
   Corp., et al., No. 5:17-cv-126 (E.D. Tex.); U.S. ex rel. Health Choice All., LLC v. Eli Lilly & Co.,
   et al., No. 5:17-cv-123 (E.D. Tex.); U.S. ex rel. Health Choice Advocates, LLC v. Gilead, et al., No.
   5:17-cv-121 (E.D. Tex.); and U.S. ex rel. Doe and APBQR, LLC v. Sanofi-Aventis U.S. LLC, et al.,
   No. 16-5107 (S.D.N.Y.). See U.S. ex. rel. v. EMD Serono, Inc., No. CV 16-5594, 2019 WL
   1468934, at *1 n. 4 (E.D. Pa. Apr. 3, 2019); see also Mots. to Dismiss at 2-3 and accompanying
   Declaration of Brian J. McCabe (“McCabe Decl.”), ¶¶ 2-3 and Exhibit A (email describing corporate
   structure of NCHA Group) and Exhibit B (visual aid depicting NCHA Group relators and corporate
   organization). According to the government’s replies, six of the related NHCA Group actions remain
   pending, including the cases before the Court.

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          The gravamen of the complaints is the same. Relators allege the defendant pharmaceutical

   companies caused the submission of false claims for reimbursement for certain medicines to

   government healthcare programs that were knowingly induced by unlawful remuneration.

   Specifically, Relators allege the pharmaceutical companies and commercial outsourcing vendors

   violated the Anti-Kickback Statute (“AKS”), 42 U.S.C. § 1320a-7b(b), by engaging in three alleged

   schemes—referred to as the free nurse services, white coat marketing, and reimbursement support

   services schemes.

          The government declined to intervene after an investigation of the allegations. The Lilly and

   Bayer cases were thereafter unsealed, and Relators filed FACs, which were later dismissed without

   prejudice.3 Relators filed Second Amended Complaints in both cases, adding additional factual

   details to support Relators’ claims.4




          3
             Defendants filed numerous motions to dismiss Relators’ FACs in the Lilly and Bayer cases.
   The undersigned held a consolidated hearing on May 14, 2018. In June and July of 2018, the
   undersigned issued two Report and Recommendations, each over one hundred pages in length,
   recommending the motions to dismiss the FACs be granted in part and denied in part. (Cause No.
   5:17-cv-123, Docket Entry # 163) (Cause No. 5:17-cv126, Docket Entry # 91). No objections were
   filed to the Reports, and the District Judge adopted both Reports as the findings and conclusions of
   this Court, ordering Relators to re-plead the federal and state law FCA claims. (Cause No. 5:17-cv-
   123, Docket Entry # 164) (Cause No. 5:17-cv126, Docket Entry # 98).
          4
            In the Lilly case, United, Healthstar, VMS, and Lilly each filed a motion to dismiss Relator
   Health Choice Alliance, LLC’s Second Amended Complaint. (Cause No. 5:17-cv-123, Docket Entry
   #s 177, 178, 180, and 183). Healthstar, VMS, and Lilly also filed motions for summary judgment.
   (Cause No. 5:17-cv-123, Docket Entry #s 179, 181, and 182). Thereafter, on January 9, 2019, Relator
   Health Choice Alliance, LLC filed a N otice of Voluntary Dismissal Without Prejudice, seeking to
   dismiss without prejudice its claims against Defendants UBC, Healthstar, VMS, and Covance, leaving
   only Relator’s claims against Lilly. (Cause No. 5:17-cv-123, Docket Entry # 201).
           In the Bayer case, Bayer Defendants also filed a motion to dismiss Relator Health Choice
   Group, LLC’s Second Amended Complaint. (Cause No. 5:17-cv-126, Docket Entry # 108).


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                       II. THE GOVERNMENT’S MOTIONS TO DISMISS

          The government now moves to dismiss all claims in the Lilly and Bayer cases brought on

   behalf of the United States under the FCA with prejudice as to Relators and without prejudice as to

   the United States pursuant to 31 U.S.C. § 3730(c)(2)(A).5 The government asserts the Department

   of Justice (“DOJ”), in coordination with several investigative agencies, devoted considerable time

   and resources to investigating this group of cases over a lengthy period of time. According to the

   government, in all cases the DOJ attorneys reached the same conclusion: that the allegations lack

   sufficient factual and legal support to establish a violation of the FCA. The government has also

   concluded that further litigation will impose burdens and costs on the government that are not

   justified and will undermine practices that benefit federal healthcare programs by providing patients

   with greater access to product education and support. Contending it has already expended

   substantial resources on these matters, the government now seeks to exercise its statutory right to

   dismiss the Lilly and Bayer cases.

          Relators argue that, to be granted, the government’s motions to dismiss must make a proper

   showing–evidentiary or otherwise–and the government has failed to do so. According to Relators’

   response, the government’s motions to dismiss were filed fourteen months “after the government

   declined intervention—without providing a substantive explanation; [ten] months after Defendants’

   lengthy motions to dismiss were briefed—with no participation from the government; eight months



          5
             Relators have brought claims on behalf of certain Medicaid-participating states under their
   respective state false claim statutes. According to the government’s motions to dismiss, counsel for
   the state of Texas and representative of the National Association of Medicaid Fraud Control Units
   has represented to the United States that all named plaintiff states consent to the United States’
   motions to dismiss so long as it is without prejudice as to the states, with the exception of New
   Jersey, which takes no position on the motions. Mots. to Dismiss at 1, n. 1.

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   after Judge Craven held a day-long hearing concerning the merits of Relator’s allegations—which

   the government declined to attend; six months after Judge Craven concluded, in a 100+ page R&R,

   that each theory of liability articulated by Relator stated an AKS violation that cleared the

   plausibility standard of Rule 12(b)(6); and four months after the District Court—having received no

   objection from either Defendants or the government—adopted the R&R.” Response at 1. Relators

   argue “the government gives no indication as to why, after playing no role whatsoever in this

   litigation for the past [fourteen] months, it now wishes to dismiss it.” Id. Relators take issue with

   the government’s statements regarding its alleged investigation into Relators’ claims, asserting there

   is no evidentiary support in the McCabe Declaration attached to the government’s motions to support

   such a claim.

          In its reply, the government asserts the FCA, and a substantial body of case law interpreting

   it, provide the United States is entitled to broad deference to decide which claims should be

   prosecuted on its behalf. According to the government, whether this broad deference is viewed as

   giving the government “unfettered discretion” to dismiss an action (as some courts have found and

   the government contends), or allows the government to dismiss if it articulates a rational basis (as

   other courts have held and as Relators contend), none of Relators’ arguments provide a basis to

   override the government’s “reasoned determination that the litigation should not proceed and that

   the claims should be dismissed.” Replies at 2.

          Relators contend the government has failed to demonstrate its decision to dismiss has a

   rational relationship to a governmental interest, which Relators contend is the proper standard for

   considering whether to dismiss an action on the government’s motion over a relator’s objection.

   They argue the government’s decision to dismiss also reflects arbitrary and capricious conduct. Even


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   under a more deferential standard like the one urged by the government, Relators argue the motions

   to dismiss still fail because “the government has sought to mislead the Court by misrepresenting the

   nature and scope of its supposed ‘investigation’ into Relators’ [sic] allegations.” Surreply at 6.

                                        III. APPLICABLE LAW

   A.      The FCA

           “The False Claims Act . . . imposes liability on any person who knowingly presents . . . a

   false or fraudulent claim for payment or approval, to an officer or employee of the United States.”

   Kellogg Brown & Root Servs., Inc. v. United States, ex rel. Carter, 135 S. Ct. 1970, 1973 (2015)

   (internal quotations and citations omitted). The Court has discussed the procedure and the historical

   underpinnings of the qui tam provisions of the FCA in prior opinions, and it need not repeat them

   here. “Suffice it to say that in certain circumstances, suits by private parties on behalf of the United

   States against anyone submitting a false claim to the government are permitted.” United States ex

   rel. Laird v. Lockheed Martin Eng'g & Sci. Servs. Co., 336 F.3d 346, 351 (5th Cir. 2003), abrogated

   by Rockwell Int’l Corp. v. United States, 549 U.S. 457, 127 S. Ct. 1397, 167 L. Ed. 2d 190 (2007)

   (citing Hughes Aircraft Co. v. United States ex rel. Schumer, 520 U.S. 939, 941, 117 S.Ct. 1871, 138

   L.Ed.2d 135 (1997)).

           The FCA permits “a person” acting on his own behalf and “for the United States

   Government”—i.e., the relator—to remedy certain frauds. 31 U.S.C. § 3730(b)(1). The individual

   brings his claim “in the name of the Government.” Id. Once the relator files suit, the Government

   must investigate the matter and determine whether it will intervene and take “primary responsibility

   for prosecuting the action,” or so decline. United States ex rel. Vaughn v. United Biologics, L.L.C.,

   907 F.3d 187, 192 (5th Cir. 2018) (quoting 31 U.S.C. § 3730(b)(4); 3730(c)(1)). If the Government


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   declines to intervene, then “the person who initiated the action shall have the right to conduct the

   action.” Vaughn, 907 F.3d at 192 (quoting § 31 U.S.C. 3730(c)(3)). In this capacity, the relator

   stands in the place of the Government, representing its interests. Vaughn, 907 F.3d at 192-93

   (citation omitted).

           Even when the Government declines to intervene, it remains a distinct entity in the qui tam

   litigation with protected interests. Vaughn, 907 F.3d at193. “This fact is established by the FCA

   itself, which affords the Government certain rights in the litigation regardless of its decision not to

   intervene.” Id. For example, it is to be supplied with “all pleadings filed in the action” and “copies

   of all deposition transcripts.” Id. (quoting 31 U.S.C. § 3730(c)(3)). Moreover, the Government may

   stay discovery if it can show that the litigation is obstructing a separate investigation or prosecution.

   Vaughn, 907 F.3d at193 (citing 31 U.S.C. § 3730(c)(4)). The Government still receives at least 70%

   of the remedy award. Vaughn, 907 F.3d at193 (citing 31 U.S.C. § 3730(d)(2)). The Government may

   settle the action with the defendant notwithstanding the objection of the relator if the court

   determines, after a hearing, that the proposed settlement is fair, adequate, and reasonable under all

   the circumstances. 31 U.S.C. § 3730(c)(2)(B). And the Government must still give its consent before

   the relator dismisses the action. Vaughn, 907 F.3d at193 (citing 31 U.S.C. § 3730(b)(1)).

   B.      Dismissal under § 3730(c)(2)(A)

           Most importantly for purposes here, the FCA provides the Government may dismiss a qui

   tam action “notwithstanding the objections of the person initiating the action if the person has been

   notified by the Government of the filing of the motion and the court has provided the person with

   an opportunity for a hearing on the motion.” 31 U.S.C. § 3730(c)(2)(A). Courts agree it is



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   unnecessary for the government to intervene formally in the action before moving to dismiss under

   § 3730(c)(2)(A). U.S. ex rel. May v. City of Dallas, No. 3:13-cv-4194-N-BN, 2014 WL 5454819,

   at *2 (N.D. Tex. Oct. 27, 2014) (unreported) (citing Ridenour v. Kaiser-Hill Co., L.L.C., 397 F.3d

   925, 932 (10th Cir. 2005)); see also U.S. ex rel. Sibley v. Delta Regional Medical Center, No. 4:17-

   cv-000053-GHD-RP, 2019 WL 1305069, at *3 (N.D. Miss. March 21, 2019) (citing U.S. v.

   Everglades Coll, Inc., 855 F.3d 1279, 1286 (11th Cir. 2017) (citing Ridenour, 397 F.3d at 933)).

   However, courts are split on whether the statute permits the government to unilaterally dismiss qui

   tam actions brought under the FCA without reason, or whether the United States must show that

   dismissal serves a valid government purpose. Sibley, 2019 WL 1305069, at *3.

   C.       Dismissal as of right or if it serves a valid government purpose

   1.       Different standards for dismissal under § 3730(c)(2)(A)

            Section 3730(c)(2)(A) does not create a particular standard for dismissal and, as noted above,

   courts disagree on the standard for dismissing an action on the government’s motion over a relator’s

   objection. As noted above, although “the circuit courts agree that dismissal is not contingent on

   intervention, they disagree on the standard of review for dismissal: whether dismissal under §

   3730(c)(2)(A) is conditioned on any standard at all, and if so, what that standard is.” U. S. ex rel.

   Davis v. Hennepin Cty., No. 18-CV-01551 (ECT/HB), 2019 WL 608848, at *4 (D. Minn. Feb. 13,

   2019).

   2.       Circuit court cases

            In 1998, the Ninth Circuit Court of Appeals first considered the issue. See U.S. ex rel.,

   Sequoia Orange Co. v. Baird-Neece Packing Corp., 151 F.3d 1139 (9th Cir. 1998). In Sequoia


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    Orange, an orange processor filed a qui tam action against other citrus companies alleging violations

    of the orange and lemon marketing orders promulgated by the Secretary of Agriculture. Id. at 1141.

    The government intervened several years into the litigation and sought dismissal under §

    3730(c)(2)(A) because it had decided to abandon the entire marketing program. Id. The district

    court granted the government’s motion to dismiss, finding the decision was rationally related to a

    legitimate governmental purpose. Id. (citing U.S. ex rel. Sequoia Orange Co. v. Sunland Packing

    House Co., 912 F.Supp. 1325 (E.D. Cal. 1995)).

           On appeal, the Ninth Circuit first noted the statute is silent regarding the circumstances under

    which the government may dismiss a qui tam action. Sequoia Orange, 151 F.3d at 1143. It further

    noted “the decision to dismiss has been likened to a matter within the government’s prosecutorial

    discretion in enforcing federal laws.” Id. (citations omitted). The relators argued that interpreting

    § 3730(c)(2)(A) to give the government authority to dismiss a meritorious qui tam action was

    inconsistent with the general framework of the False Claims Amendments Act of 1986, which the

    relators argued was intended to provide relators with “increased involvement in suits brought by the

    relator but litigated by the Government.” Id. at 1143-44. According to the Ninth Circuit, although

    the amendments increased the relator’s role in a case in which the government intervened, the

    government still has “primary responsibility” for the case and “now enjoys supervisory powers over

    the relator.” Id. at 1144. The Ninth Circuit further noted the amendments also expanded the

    government’s ability to intervene. Thus, the False Claims Amendments Act of 1986 “actually

    increased rather than decreased, executive control over qui tam litigation.” Id.

            Noting the government’s power to dismiss or settle an action is “broad,” the Ninth Circuit

    further noted the legislative history of the 1986 amendments support “the district court’s conclusion

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    that a meritorious suit may be dismissed upon a proper showing.” Id. The Ninth Circuit gave

    weight to a Senate Report which explained the amendments “provide[d] qui tam plaintiffs with a

    more direct role . . . in acting as a check that the Government does not neglect evidence, cause undue

    delay, or drop the false claims case without legitimate reason.” Id. (quoting S. Rep. No. 99-345, at

    25–26 (1986), as reprinted in 1986 U.S.C.C.A.N. 5266, 5291). According to the Ninth Circuit, this

    statement “reflects congressional intent that the qui tam statute create only a limited check on

    prosecutorial discretion to ensure suits are not dropped without legitimate governmental purpose.”

    Sequoia Orange, 151 F.3d at 1144–45.

           The Ninth Circuit held the district court “acted reasonably” in adopting the following

    standard:

           A two step analysis applies here to test the justification for dismissal: (1)
           identification of a valid government purpose; and (2) a rational relation between
           dismissal and accomplishment of the purpose.


    Id. at 1145 (quoting 912 F.Supp. at 1341). Under this rational relation standard, if the government

    satisfies the two-step test, the burden switches to the relator “to demonstrate that dismissal is

    fraudulent, arbitrary and capricious, or illegal.” Sequoia Orange, 151 F.3d at 1145.

           The Ninth Circuit stated the rational relation standard “draws significant support from the

    Senate Report” to the amendments, which “explained that the relators may object if the government

    moves to dismiss without reason.” Id. (citing S. Rep. No. 99-345, at 26 (1986), as reprinted in 1986

    U.S.C.C.A.N. 5266, 5291). Finally, the Ninth Circuit dismissed any separation of powers concerns

    by holding that the standard applied was no greater than “mandated by the Constitution itself.”

    Sibley, 2019 WL 1305069, at *4 (citing Sequoia Orange, 151 F.3d at 1146). Thus, the standard did


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    not impermissibly require judicial approval over executive authority. Sibley, 2019 WL 1305069, at

    *4 (citing Sequoia Orange, 151 F.3d at 1145-1146). The Ninth Circuit concluded the government

    met its burden of showing the dismissal was rationally related to a legitimate government interest.

    Sequoia Orange, 151 F.3d at 1146.

              Next, in 2003 the D.C. Circuit Court of Appeals considered whether a lower court was

    correct in applying the Sequoia Orange rational relation standard. See Swift v. United States, 318

    F.3d 250 (D.C. Cir. 2003). In Swift, the appellate court declined to adopt the rational relation test,

    instead reading § 3730(c)(2)(A) as giving the government “an unfettered right to dismiss” a qui tam

    action. Id. at 252. The D.C. Circuit started with the statute’s text, noting § 3730(c)(2)(A) appears

    to give the executive the power to dismiss unilaterally: “The section states that ‘The

    Government’—meaning the Executive Branch, not the Judicial—‘may dismiss the action,’ which

    at least suggests the absence of judicial constraint.” Id. The court also equated a motion to dismiss

    in this context with a decision not to prosecute, which was “a decision generally committed to [the

    government’s] absolute discretion.” Id. (citing Heckler v. Chaney, 470 U.S. 821, 831-33, 105 S. Ct.

    1649, 1655–57, 84 L.Ed.2d 714 (1985); Newman v. United States, 382 F.2d 479, 480 (D.C.Cir.

    1967)).

              The D.C. Circuit stated “[n]othing in § 3730(c)(2)(A) purports to deprive the Executive

    Branch of its historical prerogative to decide which cases should go forward in the name of the

    United States.” Swift, 318 F.3d at 253. According to the D.C. Circuit, the relator’s right to a

    hearing, as set forth in § 3730(c)(2)(A), “is all that points to a role for the courts in deciding whether

    the case must go forward despite the government’s decision to end it.” Id. The D.C. Circuit



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    concluded “the function of a hearing when the relator requests one is simply to give the relator a

    formal opportunity to convince the government not to end the case.” Id.

           The D.C. Circuit discounted the Senate Report cited by the Ninth Circuit, noting the report

    related to an “unenacted Senate version of the 1986 amendment.” Id. Finally, the D.C. Circuit stated

    even if the rational relation Sequoia Orange test set the proper standard, the government would

    easily have satisfied it. Id. at 254. The D.C. Circuit noted the “asserted governmental interests were

    that the dollar recovery was not large enough to warrant expending resources monitoring the case,

    complying with discovery requests, and so forth, and that spending time and effort on [the] case

    would divert scarce resources from more significant cases.” Id. According to the court, Swift failed

    to establish the government’s prosecutorial judgment was arbitrary and capricious, illegal, or

    fraudulent. Id.

           The defendants in Swift had not yet been served with the complaint, id. at 251, but the D.C.

    Circuit subsequently applied Swift’s interpretation of § 3730(c)(2)(A) in a case where the defendant

    had been served. See Hoyte v. Am. Nat'l Red Cross, 518 F.3d 61, 65 (D.C.Cir.2008). Both Swift and

    Hoyte mentioned “fraud on the court” as a possible exception to the unfettered deference provided

    to the government to dismiss qui tam suits. U. S. ex rel. Schneider v. J.P. Morgan Chase Bank, N.A.,

    No. CV 14-1047 (RMC), 2019 WL 1060876, at *2 (D.D.C. Mar. 6, 2019) (citing Swift, 318 F.3d at

    253; Hoyte, 518 F.3d at 65) (noting, as in Swift and Hoyte, there was no evidence to suggest any

    fraud or any other “exceptional circumstance to warrant departure from the usual deference we owe

    the Government’s determination whether an action should proceed in the Government’s name”); see

    also U.S. ex rel. Levine v. Avnet, Inc., No. 2:14-CV-17 WOB-CJS, 2015 WL 1499519, at *4 (E.D.

    Ky. Apr. 1, 2015) (“In Hoyte, the D.C. Circuit also clarified that the government has ‘virtually’

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    unfettered discretion to dismiss, leaving open the possibility that a court might depart from the ‘usual

    deference’ owed to the Government’s determination whether an action should proceed in its name

    in ‘exceptional circumstances,’ such as a showing of fraud on the court.”).6

            The only other circuit to weigh in on the controversy, the Tenth Circuit Court of Appeals, has

    sided with the Ninth Circuit. See Nasuti ex rel. U.S. v. Savage Farms, Inc., No. CIV.A. 12-30121-

    GAO, 2014 WL 1327015, at *10 (D. Mass. Mar. 27, 2014), aff’d sub nom. Nasuti v. Savage Farms

    Inc., No. 14-1362, 2015 WL 9598315 (1st Cir. Mar. 12, 2015)7 (citing Ridenour, 397 F.3d at 936).

    In Ridenour, the Tenth Circuit considered what standard applies when the government moves to

    dismiss a qui tam action under§ 3730(c)(2)(A) after the defendant has been served. The Tenth Circuit

    adopted the Sequoia Orange test, which requires the government to identify a valid governmental

    purpose that is rationally related to dismissing the action. Id. at 936 (quoting Sequoia Orange, 151

    F.3d at 1145). If the government satisfies this test, the burden shifts to the relator to show that


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               The district court in Levine noted the Sixth Circuit Court of Appeals had not addressed the
    appropriate standard and agreed with the D.C. Circuit’s conclusions in Swift and Hoyte that the
    government has a “virtually unfettered right” to dismiss the case. 2015 WL 1499519, at *1, *4. Even
    if the stricter Sequoia Orange standard were to apply, the court concluded the government would
    have made the required showing. Id. at *5.
            7
             The magistrate judge in Nasuti was persuaded the Sequoia Orange standard adopted by the
    Ninth and Tenth Circuits was the “better of the two,” but noted the standard should not be
    “particularly arduous.” 2014 WL 1327015, at *10 (further noting the government, as the real party
    in interest, should have “broad discretion to determine its fate”). The magistrate judge concluded
    the government satisfied its burden for dismissal. Id. at *11; see also id. at *12 (noting the
    government need not produce evidence in support of its reasons for seeking dismissal, only that it
    provide “plausible, or arguable reasons supporting” its decision).
            In the order adopting the report and recommendation of the magistrate judge, the district
    judge noted that, unlike the magistrate judge, he found the Swift rationale more persuasive. Id. at
    *1. The “minor doctrinal difference” was of “no moment” because the district judge agreed with the
    magistrate judge that the government’s motion to dismiss should be granted whether one relies on
    the explanation given in Swift or in Sequoia Orange. Id.

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    dismissal is “fraudulent, arbitrary and capricious, or illegal.” Id. (internal quotation marks omitted).

    The Tenth Circuit pointed out that to establish a rational relation to a valid governmental purpose

    under the test as applied by the district court in Sequoia Orange, “there need not be a tight fitting

    relationship between the two; it is enough that there are plausible, or arguable, reasons supporting

    the agency decision.” Id. at 937 (alteration, internal quotation marks, and citation omitted). The court

    in Ridenour held the government met the test by advancing a “plausible, or arguable” reason for the

    dismissal. Id.

            In Ridenour, the Tenth Circuit expressly declined to decide “whether § 3730(c)(2)(A) gives

    the judiciary the right to pass judgment on the Government’s decision to dismiss an action where the

    defendant has not been served and where the Government did not intervene in the action, facts of

    the sort presented in Swift.” Id. at 936 n. 17. As a result, it remained an open question in the Tenth

    Circuit whether Swift or Sequoia Orange provided the proper scope of judicial review in such cases.

    When faced with the issue in U.S. ex rel. Wickliffe v. EMC Corp., 473 Fed. Appx. 849, 853 (10th

    Cir. 2012), the Tenth Circuit did not need to resolve the question “because even under the greater

    judicial scrutiny imposed by the Sequoia standard, the government’s motion to dismiss passe[d]

    muster. . . .” The Tenth Circuit stated the government had provided a rational reason for dismissing

    the action, and the relators failed to establish dismissal was arbitrary and capricious. Id. at 853-54

    (further noting “the potential merit of a qui tam action is insufficient to overcome the government’s

    rational reasons for dismissing the suit”).

            The Fifth Circuit has not “squarely confronted this same question, but it, too, has observed

    that the government has the ‘power to take the . . . radical step of unilaterally dismissing the

    defendant.’” Davis, 2019 WL 608848, at *5 (quoting Searcy v. Philips Elecs. N. Am. Corp., 117


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    F.3d 154, 160 (5th Cir. 1997) (citations omitted); see also U. S. ex rel. CIMZNHCA, LLC v. UCB,

    INC., No. 17-CV-765-SMY-MAB, 2019 WL 1598109, at *2 (S.D. Ill. Apr. 15, 2019) (citing Riley

    v. St. Luke’s Episcopal Hospital, 252 F.3d 749 (5th Cir. 2001) (en banc) and stating the Fifth Circuit

    is in accord with the D.C. Circuit).

    3.     District court cases

           In 2005, this Court noted the Fifth Circuit had not addressed “fully the standard for dismissal

    of a qui tam action under section 3730(c)(2)(A).” The Court further noted the Ninth Circuit and

    D.C. Circuit had considered the issue. U. S. ex rel. Wright v. AGIP Petroleum Co., No. 5:03-CV-

    264-DF, 2005 WL 8167952, at *2 (E.D. Tex. Feb. 3, 2005) (granting the government’s motion to

    dismiss filed more than eight years after the qui tam action was filed and more than four years after

    declination-in-part). The Court did not need to reach the issue of whether the government has an

    “unfettered right” to dismiss because under the greater judicial scrutiny imposed by the Sequoia

    Orange standard the government provided rational reasons for dismissal of Wright’s case. Id.

           However, in considering whether the government needed to intervene formally in the action

    to dismiss Wright’s claims, the Court quoted from Riley, a 2001 Fifth Circuit case which opined on

    the extent of the Executive Branch’s control over qui tam actions:

           Our precedent, moreover, accords with the position that this en banc court now takes.
           In Searcy v. Philips Electronics N. Am. Corp., et al., 117 F.3d 154 (5th Cir. 1997),
           we held that the FCA clearly permits the government to veto settlements by a qui
           tam plaintiff even when it remains passive in the litigation. We cited several ways
           in which the government may assume control over qui tam litigation in which it does
           not intervene under the FCA. See id., 117 F.3d at 160. We noted that not only may
           the government take over a case within 60 days of notification, but it may also
           intervene at a date beyond the 60-day period upon a showing of good cause. Id., 117
           F.3d at 159 (citing 31 U.S.C. § 3730(d)(2)(A) and 31 U.S.C. §§ 3730(b)(3) & (c)(3)).
           This Court also stated that the government retains the unilateral power to dismiss



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           an action ‘notwithstanding the objections of the person.’ Id., 117 F.3d at 160
           (citing 31 U.S.C. § 3730(c)(2)(A)).

    Wright, 2005 WL 8167952, at *3 (quoting Riley, 252 F.3d at 753) (emphasis added in Wright).

           The Court concluded the government did not need to intervene formally to move to dismiss.

    Id. at *4. The Court further concluded the government provided a valid government purpose and

    a rational relation between dismissal and accomplishment of that purpose. Id. at *7. Because Wright

    did not demonstrate the government’s rational relation was fraudulent, arbitrary and capricious, or

    illegal, the Court granted the government’s motion to dismiss. Id. at *7-*8.

           Almost fifteen years later, the Fifth Circuit has still not specifically addressed whether the

    government has an “unfettered right” to dismiss the case. However, in the last few months, a handful

    of district courts have addressed what standard the Court should use to determine whether the

    government’s motion to dismiss ought to be granted. The Court specifically addresses three cases

    which the parties submitted in their Notices of Supplemental Authority.

           In Sibley, the only case from within the Fifth Circuit, Senior District Judge Davidson

    concluded both the text of the FCA and the case law establish the government possesses the

    unfettered discretion to dismiss a qui tam action. 2019 WL 1305069, at *1, *5. In reaching this

    conclusion, the court stated “the Fifth Circuit has all but explicitly stated that the government’s

    decision to dismiss a qui tam false claim case is its choice alone.” Id. at *5.

           The two other recent cases (one from within the Third Circuit and one from within the

    Seventh Circuit) involved the government’s motions to dismiss qui tam actions filed by limited

    liability companies established by NHCA Group with substantially the same allegations as in the




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    cases before the Court. Both courts applied the Sequoia Orange standard, but only one granted the

    government’s motion to dismiss.

           Before granting the government’s motion to dismiss, a district court in Pennsylvania found

    the reasoning of the Ninth and Tenth Circuits more persuasive than that of the District of Columbia

    Circuit. U. S. ex rel. SMSPF, LLC, et al. v. EMD Serono, Inc., et al., No. 16-5594, 2019 WL

    1468934, *3 (E.D. Pa. April 3, 2019). The Serono court stated the rational relation standard accords

    with statutory interpretation, fosters transparency, and is consistent with the “constitutional scheme

    of checks and balances.” Id. According to the relator in Serono, if the government’s right to dismiss

    is “unfettered,” as the Swift court held, “a hearing would be superfluous, rendering the requirement

    of a hearing a nullity.” Id. The Serono court agreed, reasoning as follows:

           If the purpose of the hearing, as the District of Columbia Circuit read into the statute,
           is only to afford the relator an opportunity to convince the government to change its
           mind, what role does the judge play? Is the judge an observer, a mediator, or a
           participant in the debate? Certainly, if the government’s right to dismiss is limitless,
           the judge is not an adjudicator. The judge has no decision to make if the
           government’s right to dismiss is unchallengeable.

           Requiring a hearing assures that the decision to dismiss is not arbitrary and without
           a valid governmental interest. The False Claims Act was created by Congress to
           enhance the government’s ability to recover losses sustained as a result of fraud
           against the government. S. Rep. No. 99-345, at 1 (1986), as reprinted in 1986
           U.S.C.C.A.N. 5266, 5291.

           The Legislative Branch has delegated to the Executive Branch the authority to pursue
           these actions with the relator. Requiring some justification, no matter how
           insubstantial, for a decision not to pursue a false claim, acts as a check against the
           Executive from absolving a fraudster on a whim or for some illegitimate reason. It
           prevents the Executive from abusing power.

           The rational relationship test strikes a balance among the branches of government.
           It does not give unlimited power to the Executive to dismiss a legitimate action the
           Legislature created. Nor does it give the Judicial Branch unrestrained power to stop
           the Executive from acting to dismiss an action in the government’s interest.


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            Requiring the Executive to give a reason for a decision to dismiss a qui tam action
            the Legislature intended to be pursued is consistent with the notion of independent,
            co-equal branches of government.8

    Id. at *4.

            Applying the Sequoia Orange rational relation test, the court in Serono held the government

    had articulated a legitimate interest and dismissal would accomplish that interest. Id. Specifically,

    the government asserted (1) it had a valid interest in avoiding litigation costs in a case that lacked

    sufficient factual and legal support; (2) after extensive investigation, the case was unlikely to yield

    a recovery justifying the costs and burdens it would incur if the case proceeds; (3) after having

    already expended substantial time and resources, the government concluded it was better to use its

    resources pursuing other claims; and (4) the relators’ allegations “conflict[ed] with important policy

    and enforcement prerogatives of the federal government’s healthcare programs.” Id.


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               At the April 24 hearing, Relators’ counsel similarly argued the Swift court’s reasoning is
    “corrosive of judicial power.” Tr. at 23:1-2. According to counsel, the hearing should, in fact, be
    an authentic and meaningful one. Id. at 23:2-7; see also U. S. ex rel. CIMZNHCA, LLC v. UCB,
    INC., No. 17-CV-765-SMY-MAB, 2019 WL 1598109, at *3 (S.D. Ill. Apr. 15, 2019) (stating the
    “Swift standard renders the hearing specifically provided for in the statute superfluous and belies the
    role of the judiciary in ensuring constitutional checks and balances”). The Court has carefully
    considered this argument but ultimately finds it unpersuasive.
             Counsel for the government correctly pointed out at the hearing that other courts have
    concluded the hearing requirement is not rendered superfluous by the Swift interpretation for a
    couple of reasons, including the fact the hearing is a public proceeding. Tr. at 10:7-23. Along those
    lines, the court in U. S. ex rel. Davis v. Hennepin Cty., No. 18-CV-01551 (ECT/HB), 2019 WL
    608848 (D. Minn. Feb. 13, 2019) recently stated as follows:
             It is also notable that this motion-to-dismiss hearing was a public hearing, exposing
             the Executive [B]ranch to public scrutiny. Although some courts have characterized
             such a hearing as affording the relator one final chance to ‘convince the government
             not to end the case’ or to persuade the court that dismissal is improper, See Swift, 318
             F.3d at 253, the hearing serves another purpose: to give the relator and the public an
             opportunity to put, and to observe, the Government’s prosecutorial discretion in the
             spotlight and make a public record of the Government’s desire to dismiss the action.
    Id. at *6, n. 3 (emphasis in original).


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            Having satisfied the rational relation test, the burden shifted to the relators to demonstrate

    the dismissal was “fraudulent, arbitrary and capricious, or illegal.” Id. at *5 (citing Sequoia Orange,

    151 F.3d at 1145). The relators did not contend the government engaged in fraud or illegal action

    to dismiss the qui tam action for improper reasons. Instead, they argued the government’s proffered

    reasons were arbitrary and unsubstantiated. Id. The court held the relators failed to present a

    “colorable claim that dismissal would be unreasonable, arbitrary, or an abuse of discretion.” Id. at

    *6. Therefore, the court granted the government’s motion and dismissed the action. Id.

            In the only case reviewed by the Court denying the government’s motion to dismiss under

    § 3730(c)(2)(A), the district court in Illinois quoted Serono and also found the reasoning of the Ninth

    and Tenth Circuits persuasive. U. S. ex rel. CIMZNHCA, LLC v. UCB, INC., No. 17-CV-765-SMY-

    MAB, 2019 WL 1598109, at *2–3 (S.D. Ill. Apr. 15, 2019). Similar to the court in Serono, the court

    in UCB rejected Swift and found the Sequoia Orange standard consistent with statutory construction

    and appropriately deferential to the government’s prosecutorial authority.9 Id. at *2. However, unlike

    the Serono court, the court in UCB found the government’s motion to dismiss was arbitrary and

    capricious, and as such, was not rationally related to a valid governmental purpose. Id. at *4.

            The court found the government’s decision to dismiss was arbitrary because the government

    collectively investigated the eleven qui tam cases filed by the relator and did not fully investigate the

    allegations against the specific defendants in the case before the court. Id. at *3. The court held the

    government’s investigation, which did not include a cost-benefit analysis, fell “short of a minimally


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              According to the court in UCB, the Swift standard renders the hearing specifically provided
    for in the statute superfluous and belies the role of the judiciary in ensuring constitutional checks and
    balances. 2019 WL 1598109, at *3. The court agreed with the Ninth Circuit’s reasoning in Sequoia
    Orange and held courts should conduct a limited judicial review to ensure the government’s decision
    to dismiss is not fraudulent, arbitrary, or an abuse of power. Id.

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    adequate investigation to support the claimed governmental purpose.” Id. The court also found “no

    rational relationship between the government’s expressed policy interest in the enforcement

    prerogatives of its healthcare programs and the dismissal of [the] case,” noting the government

    devoted a significant portion of its briefing “to deriding the relator’s business model and litigation

    activities.” Id. at *4. According to the court, “[u]nder the circumstances, one could reasonably

    conclude that the proffered reasons for the decision to dismiss are pretextual and the Government’s

    true motivation is animus towards the relator.” Id.

                                              IV. DISCUSSION

    A.      Right to dismiss by the government conveyed by statute

            “Against this backdrop of Swift and Sequoia Orange, it is appropriate to return to the

    language of the statute itself.” Davis, 2019 WL 608848, at *5. When dealing with matters of

    statutory interpretation, “[it] is well established that [the court] commence[s] . . . with the statute’s

    plain language. Where the language is plain, [the court] need inquire no further.” Id. (quoting United

    States v. Cacioppo, 460 F.3d 1012, 1016 (8th Cir. 2006) (citations omitted)); see also Little v. Shell

    Expl. & Prod. Co., 690 F.3d 282, 286 (5th Cir. 2012).

            The dismissal provision in the FCA provides “[t]he Government may dismiss the action

    notwithstanding the objections of the person initiating the action if the [relator] has been notified by

    the Government of the filing of the motion and the court has provided the [relator] with an

    opportunity for a hearing on the motion.” 31 U.S.C. § 3730(c)(2)(A). “The statute’s plain language

    does not constrain the Government’s right to dismissal on any other standard or showing.” Davis,

    2019 WL 608848, at *5 (holding, as the Swift court held, it is an “unfettered” right).




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            In granting the government’s motion to dismiss a relator’s qui tam action, a district court in

    the Northern District of Texas also started with the statute and concluded dismissal was required

    based on the discretion conferred by § 3730(c)(2)(A). U.S. ex rel. May v. City of Dallas, No. 3:13-

    CV-4194-N-BN, 2014 WL 5454819, at *3 (N.D. Tex. Oct. 27, 2014) (noting the Fifth Circuit in

    Riley indicated the United States retains a unilateral authority to seek dismissal in declined qui tam

    actions “notwithstanding the objections of the person”). The May court reasoned as follows:

            The Swift court makes a compelling case that the United States should not be
            compelled to permit a relator to sue on its behalf and that the statutory language does
            not require—or even permit—judicial review of this discretionary decision.

    Id. (further holding that even if the court were to apply the Ninth Circuit’s “rational relation”

    standard, the United States had identified a valid governmental purpose that was rationally related

    to dismissing the action and the relator had failed to show that dismissal was “fraudulent, arbitrary

    and capricious, or illegal.”).

            Similarly, in Sibley, the court found the text of § 3730 supports its holding that §

    3730(c)(2)(A) gives the government unfettered discretion to dismiss a False Claims Act action

    brought by a relator in its name. 2019 WL 1305069, at *6. The court stated the first part of §

    3730(c)(2)(A) states the “Government may dismiss the action with the defendant notwithstanding

    the objections” of the relator, putting “the prerogative of dismissal with the executive.” Id. (citation

    omitted). According to the court in Sibley, when the statute gives authority to the government,

    especially about decisions on how to manage the action, it consistently provides that “the

    Government may. . . .” Id. “Further, in numerous instances, the statute explicitly states when a

    showing by the government or a finding by the court is required.” Id. The Sibley court provided

    the following example:


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            Section 3730(b)(1), the provision that allows actions by private individuals, states
            that if a relator wishes to dismiss the action voluntarily, ‘[t]he action may be
            dismissed only if the court and the Attorney General give written consent to the
            dismissal and their reasons for consenting.’ § 3730(b)(1); Searcy 117 F.3d at 158.

    Id. (emphasis added in Sibley). According to the Sibley court, “when the statute requires that the

    government show something, the statute explicitly says so, and when the government is not required,

    it does not.”10 Id.

            Most convincing to the Sibley court was § 3730(c)(2)(B), the subsection concerned with the

    settlement of the action rather than dismissal. Id. at *7. Although both subsections 3730(c)(2)(A)

    and 3730(c)(2)(B) provide the government may dismiss or settle the action “notwithstanding the

    objections” of the relator, “§ 3730(c)(2)(B) goes on to say that the government may only settle ‘if

    the court determines, after a hearing, that the proposed settlement is fair, adequate, and reasonable

    under all the circumstances.’” Id. (quoting 31 U.S.C. § 3730(c)(2)(B)). “Section 3730(c)(2)(A),


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               The Court notes the Fifth Circuit has not even imposed on the government a “high
    requirement on the justifying articulation” even under § 3730(b)(1), which provides an action may
    be dismissed only if the court and the Attorney General give their reasons for consenting. In U. S.
    ex rel. Vaughn v. United Biologics, L.L.C., 907 F.3d 187 (5th Cir. 2018), the Fifth Circuit rejected
    a defendant’s argument that it was entitled to a written or more thorough explanation for the
    government’s or the district court’s reasons for consenting to the relators’ motion to dismiss a qui
    tam case. Id. at 196. In so holding, the court noted the Fifth Circuit, “as well as other circuits, has
    concluded that the Government retains absolute discretion to consent (or withhold consent) to a
    dismissal under § 3730(b)(1)—even when it does not intervene in the litigation.” Id. (emphasis in
    original) (citing Searcy, 117 F.3d at 158, 160; see also United States ex rel. Michaels v. Agape
    Senior Comm., Inc., 848 F.3d 330, 339 (4th Cir. 2017) (“[Section] 3730(b)(1) does not overtly
    require the Government to satisfy any standard or make any showing reviewable by the court.”);
    United States v. Health Possibilities, P.S.C., 207 F.3d 335, 336, 340 (6th Cir. 2000)). In light of that
    authority, the Fifth Circuit in Vaughn declined to impose a “high requirement on the justifying
    articulation – either for the Government itself or the district court’s review of that decision.”
    Vaughn, 907 F.3d at 196. According to the court, even if it were to require some “baseline
    explanation requirement” (even though such a requirement was unsupported by the text of §
    3730(b)(1) and contrary to its purpose), there was enough in the record in Vaughn to discern an
    adequate basis for the government’s consent to the relators’ dismissal to meet such a requirement.
    Id.

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    however, gives no standard; it requires only that the ‘the person has been notified by the Government

    of the filing of the motion and the court has provided the person with an opportunity for a hearing

    on the motion.’” Sibley, 2019 WL 1305069, at *7. Because § 3730(c)(2)(B) contains explicit

    statements requiring the court to make determinations about the settlement and § 3730(c)(2)(A) does

    not, the Sibley court held “§ 3730(c)(2)(A) demands no finding.” Id.

           Finding § 3730(c)(2)(A) gives the government unfettered discretion to dismiss a False Claims

    Act action brought by a relator in its name, the Sibley court stated it must grant the government’s

    motion. Id.; see also id. at *8 (noting the Sequoia Orange standard is not “particularly arduous” and

    stating the government would still meet its burden to justify dismissal even if § 3730(c)(2)(A) does

    not permit the government wholly unfettered discretion to dismiss qui tam actions) (citations

    omitted).

           Similarly here, the Court is of the opinion the text of the FCA establishes the government’s

    decision to dismiss an FCA case is one committed to its discretion. See Sibley, 2019 WL 1305069,

    at *1, *7. The Court next considers whether case law supports this finding.

    B.     Relevant case law indicates the Fifth Circuit would find similar to the D.C. Circuit’s
           conclusions in Swift and Hoyte

           As noted above, the Fifth Circuit has not articulated what level of scrutiny a district court

    should apply when the government moves to dismiss a qui tam action under § 3730(c)(2)(A). The

    government argues the Fifth Circuit would adopt the D.C. Circuit’s reasoning in Swift. Relators

    argue the Court should use the Ninth Circuit’s Sequoia Orange standard.

           For the reasons set forth by the court in Sibley, the Court agrees the case law also establishes

    that the government possesses virtually “unfettered discretion” to dismiss a qui tam False Claims Act



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    action.11 2019 WL1305069, at *5. First, as discussed in detail in Sibley, prior Fifth Circuit precedent

    “strongly supports a reading of § 3730(c)(2)(A) that gives the government this power.” Id. In Searcy

    v. Philips Electronics N. Am. Corp., 117 F.3d 154 (5th Cir. 1997), the Fifth Circuit considered

    “whether the False Claims Act gives the government the power to veto a settlement after it has

    declined to intervene in both the trial and appellate courts.” Id. at 155. The Fifth Circuit found the

    last sentence of § 3730(b)(1) to be unambiguous: “The action may be dismissed only if the court and

    the Attorney General give written consent to the dismissal and their reasons for consenting.” Sibley,

    2019 WL1305069, at *5 (quoting Searcy, 117 F.3d at 159 (quoting statute)). “Thus, the court held,

    the government could stop any settlement between a relator and the defendant.” Sibley, 2019

    WL1305069, at *5.

            In the Searcy decision, the Fifth Circuit examined other provisions of the statute that gave

    the government great power over the action, even when the relator “conducted” the action because

    the government declined to intervene. Sibley, 2019 WL1305069, at *5. Of particular importance,

    the Fifth Circuit noted “the government retains the power to take the more radical step of unilaterally


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               In Hoyte, the D.C. Circuit clarified that the government has “virtually” unfettered
    discretion to dismiss, leaving open the possibility that a court might depart from the “usual
    deference” owed to the government’s determination whether an action should proceed in its name
    in “exceptional circumstances,” such as a showing of fraud on the court. U.S. ex rel. Levine v. Avnet,
    Inc., No. 2:14-CV-17 WOB-CJS, 2015 WL 1499519, at *4 (E.D. Ky. Apr. 1, 2015) (citing Hoyte,
    518 F.3d at 65). As explained in Levine, the plain language of the statute says nothing about the
    government being required to make any sort of showing in support of its motion to dismiss. 2015
    WL 1499519, at *4. The court in Levine noted the relator had not argued there had been fraud on the
    court or any other “exceptional circumstance” warranting stricter review of the government’s
    decision to dismiss. Id.
            Citing the Fifth Circuit’s opinion in Riley, the court in Levine further stated it was “reluctant
    to impute to § 3730(c)(2)(A) a more stringent standard of review because doing so could set the
    provision on questionable constitutional footing.” Id. (citing Riley, 252 F.3d at 753 (finding essential
    the government’s “unilateral power to dismiss an action” (emphasis added in Levine))).


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    dismissing the defendant.” Id. (quoting Searcy, 117 F.3d at 160 (citing 31 U.S.C. § 3730(c)(2)(A)).

    The Fifth Circuit reasoned that if § 3730(c)(2)(A) gives the government absolute authority to dismiss

    the action, then granting the government authority to veto any settlements “[did] not conflict with

    the relator’s statutory right to control the litigation when the government chooses to remain passive.”

    Sibley, 2019 WL1305069, at *5 (quoting Searcy, 117 F.3d at 160).

           In Riley v. St. Luke's Episcopal Hosp., 262 F.3d 749 (5th Cir. 2001), the Fifth Circuit, sitting

    en banc, considered whether the FCA’s provision permitting the relator to conduct the litigation after

    the government declined intervention unconstitutionally interfered with the executive’s power to

    conduct litigation on behalf of the United States. Sibley, 2019 WL1305069, at *5. “Holding it did

    not, the court again noted the myriad of ways the government retains control over qui tam litigation,

    even when it did not intervene. . . .” Id. (citing Riley, 262 F.3d at 744—745 (internal quotations and

    citations omitted)). The Fifth Circuit again highlighted the “unilateral power to dismiss an action

    notwithstanding the objections of the person.”12 Sibley, 2019 WL1305069, at *5 (citing Riley, 262

    F.3d at 744) (citing Searcy, 117 F.3d at 160).

           Second, giving the government the unilateral power to dismiss qui tam actions is consistent

    with the notions of prosecutorial and executive discretion. Sibley, 2019 WL 1305069, at *6.

    According to the court in Sibley, “the government’s decision to dismiss a qui tam case is tantamount


           12
              The Court would add an additional statement by the Fifth Circuit which further suggests,
    as held by the Sibley court, 2019 WL1305069, at *5, the “Fifth Circuit has all but explicitly stated
    that the government’s decision to dismiss a qui tam false claim case is its choice alone.” See U.S.
    ex rel. Laird v. Lockheed Martin Eng’g & Sci. Servs. Co., 336 F.3d 346, 358 (5th Cir. 2003) (“As
    recognized by our case law and the clear language of the statute, the suit is brought for the
    government and on behalf of the government, which will ultimately retain the lion’s share of the
    proceeds and retains the unilateral power to dismiss the case at any time notwithstanding the
    objections of Mayfield and regardless of its decision not to intervene.”), abrogated on other grounds
    by Rockwell Int’l Corp. v. United States, 549 U.S. 457, 127 S. Ct. 1397, 167 L. Ed. 2d 190 (2007).

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    to the government’s decision not to bring the action at all, and the Court should give it the same

    deference.”13 Id. (citing Swift, 318 F.3d at 252). “The general rule that such decisions are unsuitable

    for judicial review must hold.” Sibley, 2019 WL 1305069, at *6 (citing Heckler, 470 U.S. at 832-

    834).

            Because the text of the statute and the case law establish § 3730(c)(2)(A) gives the

    government virtually unfettered discretion to dismiss a False Claims Act action brought by a relator

    in its name, the Court recommends the government’s motions to dismiss be granted.14 Sibley, 2019

    WL 1305069, at *7.

    C.      Dismissal is warranted even under the Sequoia Orange standard

            As the court in Sibley held, even if § 3730(c)(2)(A) does not permit the government

    unfettered discretion to dismiss qui tam actions, the government would still meet its burden to justify

    dismissal of the above cases. 2019 WL 1305069, at *8 (holding that even if the Sequoia Orange

    standard governed, the government had stated a valid government purpose and dismissal of the case

    was rationally related to that purpose). The Sequoia Orange standard is not “particularly arduous.”




            13
                According to the court in Sibley, to “treat it otherwise would go against the spirit, if not the
    letter, of the Fifth Circuit’s decision in Riley.” 2019 WL 1305069, at *6. The court noted a “critical
    factor in the [Fifth Circuit’s] determination that the qui tam provisions of the False Claims Act did
    not violate the separation of powers doctrine was that the government still had the power to dismiss
    the suit.” Id. (citing Riley, 252 F.3d at 753).
            14
               According to the Minnesota district court in U.S. ex rel. Davis v. Hennepin County, the
    “standard of review” is a simple two-part inquiry: (1) was the relator notified of the motion? and (2)
    did the relator have an opportunity for a hearing? 2019 WL 608848, at *5. Applying this “two-part
    statutory standard” here, it is clear Relators were notified of the government’s motions and received
    the opportunity for a hearing. 2019 WL 608848, at * 6. According to the Davis court, the statute
    requires nothing more or less. Id.

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    Id. (quoting Nasuti, 2014 WL 1327015, at * 10; Wickliffe, 473 Fed. Appx. at 853 (describing the

    Sequoia Orange standard as only “slightly more restrictive” than the Swift standard)).

            A two-step analysis applies: first, the government must identify a valid government purpose;

    and second, there must be a rational relationship between dismissal and accomplishment of the

    purpose. Sibley, 2019 WL 1305069, at *8 (citing Sequoia Orange, 151 F.3d at 1145). “[T]o

    establish a rational relation to a valid governmental purpose, there need not be a tight fitting

    relationship between the two; it is enough that there are plausible, or arguable, reasons supporting

    the agency decision.” Ridenour, 397 F.3d at 937 (internal quotations omitted). Once the government

    satisfies that test “the burden switches to the relator to demonstrate that dismissal is fraudulent,

    arbitrary and capricious, or illegal.” Id.

            Here, the government advances the following reasons for dismissal. As an initial matter, the

    government asserts, based on its “extensive investigation of all of the various [NHCA Group qui tam

    action] complaints, the government has concluded that the relators’ allegations lack sufficient factual

    and legal support.     Mots. to Dismiss at 14.         According to the motions, the government’s

    investigations included, among other things, the collection and review of tens of thousands

    documents from the defendants and third parties and interviews of numerous witnesses, including

    prescribing physicians. The government also had extensive discussions with Relators’ counsel and

    reviewed various information they provided. Id. In addition, the government consulted with subject-

    matter experts about the relators’ allegations and the applicability of regulatory safe harbors and

    government-issued industry guidance. Id. at 14-15. To date, DOJ attorneys in the Civil Division’s

    Fraud Section have collectively spent more than 1,500 hours on the NHCA Group matters filed

    nationwide. Id. at 15, n. 5.

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            As a result, the government has concluded that further expenditure of government resources

    is not justified. Because Relators allege nationwide misconduct involving Medicare, Medicaid, and

    TRICARE over at least a six-year period, the government will incur substantial costs in monitoring

    the litigation and responding to discovery requests. According to the government, the vast scope of

    the allegations will necessarily yield substantial litigation burdens for the United States, including

    the expense of collecting, reviewing, processing, and producing documents from among multiple

    federal healthcare programs, as well as voluminous prescription drug event data and patient health

    information for potentially thousands of beneficiaries, which, due to its sensitive nature, may require

    additional (and costly) screening and redaction. Id. at 15. Moreover, the government will also have

    to spend considerable time preparing numerous agency witnesses for depositions and filing

    statements of interest relating to a variety of legal issues. Id.

            Concerns about the burden on government resources are valid, even if relators assumed all

    of the expense of prosecuting the FCA cases. U.S. ex rel. Sequoia Orange Co. v. Sunland Packing

    House Co., 912 F. Supp. 1325, 1346 (E.D. Cal. 1995), aff’d sub nom. U.S. ex rel., Sequoia Orange

    Co. v. Baird-Neece Packing Corp., 151 F.3d 1139, 1146 (9th Cir. 1998) (noting, on appeal, the

    district court properly noted the government can legitimately consider the burden imposed on the

    taxpayers by its litigation, and that, even if the relators were to litigate the FCA claims, the

    government would continue to incur enormous internal staff costs). In Sibley, the court recognized

    conserving government resources was a legitimate government interest. 2019 WL 1305069, at *8

    (noting the government must still monitor the litigation even though it had elected not to intervene).

    The court in the Serono case, which is related to the cases before the Court, also held under the




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    Sequoia Orange standard that the government had articulated a legitimate interest and dismissal

    would accomplish that interest.15 2019 WL 1468934, *4.

            Here, the government has rationally concluded, based on its investigation of relators’ various

    cases that the relators’ allegations are unlikely to yield any recovery sufficient to justify the

    significant costs and burdens that the government will incur if the cases proceed and the resulting

    diversion of the government’s limited resources away from other more meritorious matters. In

    addition, the government has concluded that the specific allegations in these cases conflict with

    important policy and enforcement prerogatives of the federal government’s healthcare programs.

    “There is certainly precedent for this cost-benefit analysis being a legitimate governmental reason

    and that dismissal is rationally related to that objective.” Davis, 2019 WL 608848, at *7 (citing

    Sequoia Orange, 151 F.3d at 1146 (referring to “internal staff costs” (citation omitted)); e.g., U.S.

    ex rel. Stovall v. Webster Univ., No. 3:15-cv-03530, 2018 WL 3756888, at *3 (D.S.C. Aug. 8, 2018)

    (recognizing the Government’s “interest in preserving scarce resources by avoiding the time and

    expense necessary to monitor this action” and rejecting the relator’s argument that “the anticipated

    financial gain outweighs the anticipated time and money to be expended on this case”); U.S. ex rel.

    Nicholson v. Spigelman, No. 10-cv-3361, 2011 WL 2683161, at *2 (N.D. Ill. July 8, 2011) (crediting

    the Government’s proffered cost-benefit analysis and position that proceeding would “cost the

    United States more in expenses than it can possibly recover”)).


            15
               Similar to these cases, the government in Serono asserted it had a valid interest in avoiding
    litigation costs in a case that lacked sufficient factual and legal support; after extensive investigation,
    the case was unlikely to yield a recovery justifying the costs and burdens it would incur if the case
    proceeded; after having already expended substantial time and resources, the government concluded
    it was better to use its resources pursuing other claims; and the relators’ allegations “conflict[ed]
    with important policy and enforcement prerogatives of the federal government’s healthcare
    programs.” 2019 WL 1468934, *4.

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           Having satisfied the rational relation test, the burden shifts to Relators to demonstrate the

    dismissal is “fraudulent, arbitrary and capricious, or illegal.” Sequoia Orange, 151 F.3d at 1145.

    Although Relators concede the government has discretion, they argue under the Sequoia Orange

    standard the government has exercised its discretion in an arbitrary and capricious manner. Tr. at

    23:24-27:20. Relators argue “the government has sought to mislead the Court by misrepresenting

    the nature and scope of its supposed ‘investigation’ into Relators’ [sic] allegations.” Surreply at 6.

           Specifically, Relators assert they do not believe the government investigated their allegations

    because the government informed Relators’ counsel that the United States would decline

    intervention on October 27, 2017, only six weeks after the September 13, 2017 government’s

    meeting with Relators’ representative and Relators’ counsel regarding the allegations at issue in the

    Lilly and Bayer cases.16 Responses at 24. Relators assert the government’s claims of having

    conducted an “extensive investigation” in these cases are inaccurate, noting the government appears

    not to have collected any documents from the defendants during its six-week purported investigation.

    Surreplies at 1.

           The government explains prior to declination it had already spent considerable time

    investigating substantially the same allegations that NHCA Group had filed in several other districts,


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               The United States moved the Court for an ex parte order granting a six-month extension
    of time, to and including February 26, 2018, in which to continue the investigation of the allegations
    in Relators’ complaints and to make an election whether or not to intervene in the above litigation.
    Relators filed a response in partial opposition to the United States’ motions, asserting the seal period
    should be extended by only sixty days. According to Relators, in the vast majority of cases, the
    original sealing period of sixty days is an adequate amount of time to allow Government
    coordination, review, and decision. Relators asserted they made their allegations known to the United
    States well in advance of the filing of the complaints in mid-June 2017. Relators further asserted
    there was urgency in having the matters proceed. The Court only extended the time for the
    government to make an election decision by sixty additional days. (Cause No. 5:17-cv-123, Docket
    Entry # 7) (Cause No. 5:17-cv126, Docket Entry # 6).

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    implicating some of the same defendants, the same legal issues, and the same industry practices.

    Replies at 7. The government further represents it continued to evaluate these particular qui tam

    cases after declination, including having extensive discussions with Relators about the allegations

    and supporting evidence. Id. According to the government, Relators were provided a substantial

    opportunity before the government moved to dismiss to address the government’s concerns regarding

    further litigation; the government carefully considered Relators’ input but concluded Relators’

    litigation on behalf of the government was not in the public interest and should be dismissed. Id.

    at 9.

            In Serono, the relators argued the government did not do its “due diligence” in investigating

    the case to understand the merits. 2019 WL 1468934, at *5. The relators argued the real reason for

    the government’s moving to dismiss was its dislike of the corporate relator as a “professional

    relator.” Id. Although the court in UBC found the proffered reasons for the government’s decision

    to dismiss were pretextual and the true motivation was animus toward the relator, 2019 WL

    1598109, at *4, the Serono court held the relators failed to show the government’s decision was

    arbitrary and capricious. 2019 WL 1468934, at *5. The Serono court noted the government had

    invested significant time and resources investigating the relators’ claims over a lengthy period of

    time, and eight United States Attorneys’ Offices had concluded the allegations in each of the cases

    lacked sufficient factual and legal support to justify the cost of the litigation and that the allegations




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    in the case conflicted with public policy interests.17 Id. Like the court in Serono, the Court is

    satisfied the government has fully investigated the claim. Id.

           “Conserving costs and promoting educational services are rationally related to accomplishing

    legitimate governmental interests in redirecting money and resources to other claims while

    benefitting [sic] the government’s healthcare programs and their recipients. These are legitimate

    governmental interests.” Id. (citing Ridenour, 397 F.3d at 936 (quoting Sequoia, 151 F.3d at 1145)

    (“rational relation” need not be “tight fitting relationship” and is established with “plausible, or

    arguable, reasons supporting the agency decision.”)). According to the Serono court, which applied

    the Sequoia Orange standard, “[l]ike any other plaintiff in a civil case, the government has the option

    to end litigation it determines is too expensive or not beneficial.” Serono, 2019 WL 1468934, at *5.

           Preserving litigation costs is a valid interest even where the claims may have merit. Id. at *6

    (citing Sequoia, 151 F.3d at 1146 (“government can legitimately consider the burden imposed on the

    taxpayers by its litigation, and that, even if the relators were to litigate the FCA claims, the

    government would continue to incur enormous internal staff costs.”); Swift, 318 F.3d at 254 (“the

    government’s goal of minimizing its expenses is still a legitimate objective, and dismissal of the suit

    furthered that objective.”)). The “potential merit of a qui tam action is insufficient to overcome the


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              In UCB, the court held the government’s collective investigation of the eleven qui tam
    cases filed by the NHCA Group fell short of a minimally adequate investigation to support the
    claimed governmental purpose. 2019 WL 1598109, at *3. Here, the Court is unpersuaded the
    government failed to adequately investigate to support its claimed purposes for dismissal or that it
    attempted to deceive the Court, as urged by Relators. Nor does the Court find the government’s
    proffered reasons for the decision to dismiss pretextual. The Court finds, as in Serono, that the
    “reasons given by the government are not a cover for an illegitimate reason and do not mask an
    animus toward the corporate relator. They are concerns that any party to litigation may have when
    deciding whether to continue pursuing a case.” 2019 WL 1468934, at *6.


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    government’s rational reasons for dismissing the suit.” Wickliffe, 473 Fed. Appx. at 854; see also

    Sequoia Orange, 151 F.3d at 1143-44 (even “a meritorious suit may be dismissed upon a proper

    showing [by the government]”); Ridenour, 397 F.3d at 930 (dismissal warranted even when

    government conceded relators’ suits were meritorious).

           The decision to dismiss the cases before the Court is rationally related to the valid

    governmental purpose of preserving resources for other litigation and protecting the government’s

    healthcare programs. Serono, 2019 WL 1468934, at *6. Relators raise several other arguments in

    support of their claim the government’s decision to dismiss is arbitrary, but none of these arguments

    are persuasive.

           In Sibley, the court rejected the relator’s argument that the United States was required to

    present “evidence of a cost-benefit analysis,” concluding even under Sequoia Orange “it is not the

    government’s burden to provide evidence of its state[d] reason.” 2019 WL 1305069, at *9 (citing

    Nasuti, 2014 WL 1327015, at *12) (citing Ridenour, 397 F.3d at 937). Citing to other district courts

    within the Fifth Circuit, the court held the relator was not entitled to discovery or an evidentiary

    hearing into the government’s stated reasons for dismissal. Id. at *9. (“As numerous courts have

    held, the hearing requirement is satisfied by allowing the relator an opportunity to submit a response

    to the motion.”) (internal quotations and citation omitted).

           Like the Sibley court, the Court finds Relators fail to present a “colorable claim that dismissal

    would be unreasonable, arbitrary, or an abuse of discretion.” 2019 WL 1305069, at *6. Accordingly,

    under Sequoia Orange as under Swift, dismissal is warranted. See Davis, 2019 WL 608848, at *7

    (citing Nicholson, 2011 WL 2683161, at *3) (“The government’s cost-benefit calculation may be

    sound or it may be short-sighted, but it cannot be deemed arbitrary and capricious.”); see also


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    Serono, 2019 WL 1468934, at *6 (stating the “government is entitled to do a cost / benefit analysis

    to decide whether to pursue a case, even a meritorious one”).

                                       V. RECOMMENDATION

            For theses reasons, the Court holds that under the FCA the government possesses the

    virtually unfettered discretion to dismiss a suit brought by a relator. However, even under a more

    stringent rational relation standard, the Court finds the government has met its burden. Accordingly,

    it is

            RECOMMENDED that The United States’ Motion to Dismiss Relator’s Second Amended

    Complaint (Cause No. 5:17-cv-123, Docket Entry # 192) be GRANTED. It is further

            RECOMMENDED that The United States’ Motion to Dismiss Relator’s Second Amended

    Complaint (Cause No. 5:17-cv-126, Docket Entry # 116) be GRANTED. It is further

            RECOMMENDED the above-entitled and numbered causes of action be dismissed with

    prejudice as to Relators and without prejudice as to the United States pursuant to 31 U.S.C. §

    3730(c)(2)(A) and without prejudice as to all named plaintiff states.

                                                Objections

            Within fourteen (14) days after receipt of this Report and Recommendation, any party may

    serve and file written objections to the findings and recommendations of the magistrate judge. 28

    U.S.C.A. 636(b)(1)(C). In order to be specific, an objection must identify the specific finding or

    recommendation to which objection is made, state the basis for the objection, and specify the place

    in the magistrate judge’s report and recommendation where the disputed determination is found. An

    objection that merely incorporates by reference or refers to the briefing before the magistrate judge

    is not specific.


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  .


           Failure to file written objections to the proposed findings and recommendations contained

    in this report within fourteen days after service shall bar an aggrieved party from de novo review by

    the district court of the proposed findings and recommendations and from appellate review of factual

    findings accepted or adopted by the district court except on grounds of plain error or manifest

    injustice. Thomas v. Arn, 474 U.S. 140, 148 (1985); Rodriguez v. Bowen, 857 F.2d 275, 276-77 (5th

    Cir. 1988).

          SIGNED this 16th day of May, 2019.




                                                          ____________________________________
                                                          CAROLINE M. CRAVEN
                                                          UNITED STATES MAGISTRATE JUDGE




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